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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN ])ISTRICT OF ILLINOIS
EASTERN DIVISION

INTERCOUNTY JUDICIAL SALES
CORPORATION, an lllinois Corporation

Plaintiff, Case No.:

VS.

COUNTY OF LAKE, ILLINOIS; MARK C. Judge:
CURRAN, JR, Lake County Sheriff', COUNTY
OF WILL, ILLINOIS; PAUL J. KAUPAS, Will
County Sheriff; and DUNN, MARTIN,

MILLER & HEATHCOCK, LTD., 211'1 lllil'lOlS Magigtrate fudge;
Corporation,

Defendants.

 

VERIFIED C()MPLAINT

NOW COMES the Plaintiff, INTERCOUNTY JUDICIAL SALES CORPORATION
(“Intercounty”), by and through its attorneys, DYKEMA GOSSETT PLLC, and complains of
Defendants, COUNTY OF LAKE, ILLINOIS (“Lake County”); MARK C. CURRAN, JR., Lake
County Sheriff; COUNTY OF WILL, ILLINOIS (“Will County”); PAUL J. KAUPAS, Will
County Sheriff; and DUNN, MARTIN, l\/IILLER & HEATHCOCK, LTD; as folloWs:

INTR()DUCTION

l. This is an action for relief based on violations of constitutional rights under the
Contract Clause and the Fourteenth Amendment to the U.S. Constitution due to governmental
interference With private contractual relationships and unlawful exercise of governmental
authority in violation of the due process and equal protection clauses; violations of the Sherman

Act for the monopolization of judicial sales]; and for a declaratory action that by totally

 

1 The terms “judicial sales” and “mortgage foreclosure sales” are used interchangeably in this
Complaint.

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excluding private selling officers from being allowed to conduct judicial sales, the Defendants
have acted in violation of the provisions of the illinois l\/lortgage Foreclosure Lavv (“Law”)

permitting the appointment of private selling officers to handle judicial sales.

THE PARTIES
2. Plaintiff Intercounty is an lllinois corporation With its principal place of business
in Chicago, lllinois.
3. Defendant Will County is a body corporate and politic, and is a statutorily created

local governmental entity responsible, among other things, for the operation of the Sheriff of
Will County formed under the provisions of the County Code.

4. Defendant Paul J. Kaupas, Sheriff of Will County, is an elected official and chief
law enforcement officer of Will County Whose budget is set and approved by Will County.

5. Defendant Lake County is a body corporate and politic, and is a statutorily created
local governmental entity responsible, among other things, for the operation of the Sheriff of
Lake County formed under the provisions of the County Code.

6. Defendant Mark C. Curran, Jr., Sheriff of Lal<e County, is an elected official and
chief law enforcement officer of Lake County Whose budget is set and approved by Lake
County.

7. Defendant Dunn, Martin, Miller & Heathcock, Ltd. (“Law Firm”) is a law firm
doing business as a corporation under the laws of the State of Illinois With offices in Joliet and
Piainfield, Illinois.

JURISDICTION AND VENUE

8. The Claims in Counts I-VI are all based on federal constitutional issues relying on

causes of action authorized under the Civil Rights Act, 42 U.S.C. §1983 or are federal antitrust
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claims under the Sherman Act, 15 U.S.C. §§1 and 2, and authorized under §§4 and 16 of the
Clayton Act, 15 U.S.C. §§15 and 26. Therefore this Court has federal question jurisdiction under
28 U.S.C. §133 1. The remaining claims for declaratory relief (Counts Vll and Vlll) seek to
determine that the custom and practice in each County of having the Sheriff exclusively conduct
all judicial sales exceeds the authority of the respective County and Sheriff under the Law is
within this Court’s supplemental jurisdiction

9. Venue is proper in the Northern District of lllinois under 28 U.S.C. §1391 as the
Defendants reside in the Northern District; the Plaintiff resides in the Northern District; the
actions complained of occurred in the Northern District; and the likely witnesses necessary for
this case generally reside in the Northern District.

BACKGROUND FACTS

10. Prior to 1987, all judicial sales undertaken in mortgage foreclosure proceedings
were conducted by the sheriffs of the counties in which the property being foreclosed was
located or by the judges of the circuit court of the counties, except for Will County which for
years prior to 1987 had used a “Court’s Auctioneer” system under which the Will County Sheriff
and the Law F irm shared responsibilities for judicial sales on foreclosed properties

11. The lllinois legislature enacted a comprehensive series of changes to procedures
governing foreclosures with the lllinois Mortgage Foreclosure Law (735 lLCS 5/15-11()1, et
seq.) (the “Law”) effective luly 1, 1987.

12. The Law was enacted to ensure that the sale of foreclosed property in lllinois
would be accomplished in a manner that reduced costs and obtained a price more closely
approximating fair market value. To achieve these goals, the Law provided inter alia that any

party to a mortgage foreclosure can propose virtually unlimited alternatives to the then-mandated
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sheriffs or judge’s sale, including the appointment of private selling officers. The Law gave
private selling officers the status of court officers

13. The history of the Law evidences the legislative intent to encourage competition
by empowering private selling officers to conduct mortgage foreclosure sales. Testifying at the
committee hearings regarding the passage of the Law, George H. Olsen, then Vice-Chairman of
the lllinois State Bar Association IMFL Drafting Committee, explained that the underlying
purpose of IMFL is:

to benefit consumers generally by ensuring that (ij the flow of mortgage funds in

to the State are not inhibited . . . and (ii) when judicial sales become necessary

the greatest sale price is realized . . . and reduce the cost which is necessarily
passed on to all borrowers

14. Additionally, the Law Was intended to "put the real estate back into circulation as
quickly as possible . . . (and to) move the foreclosure sale out of the back room into a real
marketplace." Liss, lntroduction to the Proposed lllinois l\/lortgage Foreclosure Act, 9 The
lllinois Fund Concept 13, 14, 16 (1985).

15. ln 1989, lntercounty was formed and entered into the mortgage foreclosure sales
business as a private selling officer (the “Business”). Since that time, several other firms have
also entered the Business.

16. The experience since the Law’s implementation vindicated the drafters’ goals for
an expeditious and cost-effective method of selling foreclosed properties Appointing private
selling officers to conduct mortgage foreclosure sales has advanced the policy and goals of the
Law by significantly reducing the costs of mortgage foreclosure for mortgage lenders and
borrowers, and for the United States and government-sponsored enterprise lenders and

mortgagees, including the F ederal National l\/lortgage Association (“Fannie Mae”) and the

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Federal Home Loan l\/Iortgage Corporation (“Freddie l\/lac”), the United States Department of
l-lousing and Urban Development (“HUD”). and the United States Department of Veteran
Affairs (“VA”).

17. Since the enactment of the Law, private selling officers have been routinely
appointed to conduct mortgage foreclosure sales in counties throughout the state. Private selling
officers have been the preferred provider of this service for mortgage lenders, borrowers, and

governmental entities seeking foreclosures (i.e., Fannie Mae, Freddie Mac, HUD and the VA),

for several reasons:

- (a) Private selling officers charge less than the county sheriffs. For example,
lntercounty charges $300 to conduct a mortgage foreclosure sale in Lake County;
the Lake County Sheriff charges 3500.

(b) Private selling officers provide many more services for their fee than the county
sheriffs. Unlike the county sheriffs, private selling officers prepare all the
required notices and publications on behalf of the mortgagee and allow the
lender’s bid to be submitted the day of the sale, in addition to entering the bid on
behalf of the lender. These services save litigants at least $500 in expense per
sale. ln a typical transaction, the total cost savings to the mortgage lender using a
private selling officer often exceeds $800.

18. For nearly 20 years, mortgage lenders, borrowers, Fannie Mae, Freddie Mac,
HUD and the VA have consistently sought the appointment of private selling officers for
foreclosure sales in lllinois. For example, in 2008, mortgage lenders, borrowers, Fannie l\/lae,
Freddie l\/lac, HUD and the VA opted to use a private selling officer rather than the sheriff in
99% of their mortgage foreclosures in Lake County.

19. Because the costs associated with the use of a private selling officer are less than
the costs incurred when using the sheriff (often as little as half the cost) mortgage lenders,
borrowers, Fannie Mae, Freddie l\/lac, HUD and the VA have, in the aggregate, saved tens of

millions of dollars in foreclosure costs in the State of lllinois since the Law’s enactment
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20. Both before and after the enactment of the Law, judges in most counties refused
to conduct mortgage foreclosure sales and the county sheriffs became the only governmental
actors conducting judicial sales in their respective counties

21. lntercounty became an alternative approach to judicial sales as it developed an
efficient means of handling mortgage foreclosure sales, including performing notice and other
functions that county sheriffs did not offer in their handling of such sales. lntercounty was able
to offer its services for less than one»half of the amount charged by the county sheriffs

22. lntercounty regularly provided its services in the Business to many attorneys who
focused their practices on foreclosure proceedings and other law firms, as well as many lenders,
governmental agencies, and other parties, and handled a large volume of judicial sales
throughout most of the Chicago Metropolitan Area, as well as in many downstate counties

23. lntercounty has a near permanent relationship with many of the law firms
handling a high volume of foreclosure actions, as well as with many major lenders, and conducts
judicial sales for them throughout lllinois as the private selling officer under the Law.
lntercounty also works with other law firms, lenders who are not as actively engaged in
foreclosure proceedings and other parties.

24. Over time, lntercounty and other firms acting as private selling officers handled
the vast majority of judicial sales as private selling officers These firms competed with each
other for the Business and consistently offered lower costs and more timely sales than the area
sheriffs

25. The Law permits the court, upon request of the plaintiff, to designate “an official
or other person who shall be the officer to conduct the sale other than the one customarily

designated by the court”. 735 ILCS 5/15-1506(f)(3).
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26. As a result, the plaintiff in a foreclosure proceeding has the right to choose to use
a private selling officer. in most counties, plaintiffs’ counsel or attorneys for other parties
routinely sought the appointment of private selling officers in the vast majority of judicial sales,
rather than use the local sheriffs

27. As a result, lntercounty was regularly engaged to conduct mortgage foreclosure
sales for a set fee by law firms, lenders, and other parties which arrangement established a
contractual relationship between lntercounty and these law firms, lenders, and other parties

28. lntercounty charges less than the county sheriffs throughout Cook County and the
surrounding counties and can conduct a sale in as little as one day after the necessary
publication, redemption, and advertisement periods have been satisfied See 735 lLCS 5/15~
1507(0)(2). During periods of high volumes of foreclosure proceedings, some of the Sheriffs in
Cook County and the surrounding counties have often taken weeks or months to conduct judicial
sales after the requisite publication, redemption, and advertisement periods

29. lntercounty is recognized in most of the counties in illinois as a private selling
officer within the meaning of the Law, entitled to conduct judicial sales for any party choosing a
private selling officer to conduct such sales.

30. ln 2013, the illinois Supreme Court adopted an amendment to Supreme Court
Rule 113(f`),reiterating the Law’s provision that allows any party to a foreclosure proceeding
choose whether to use a private selling officer or the local sheriff by enacting the following:

(2) Selling Officers. Any foreclosure sale held pursuant to Section 15-1507 may

be conducted by a private selling officer who is appointed in accordance with
section 15-1506(n(3).

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The Comments to this rule change noted that sheriffs tended to take too long and charge too
much for judicial sales, resulting in extended vacancies of foreclosed homes and negatively
impacting the neighborhoods in which these homes were located

FACTS SPECIFIC TO WILL COUNTY

31. ln Will County prior to 1987, there was a practice or custom of having the Will
County Sheriff in collaboration with the Law Firm or its predecessor conduct all judicial sales.
This procedure involved a collaboration between the Will County Sheriff and the Law Firm. The
Will County Sheriff shared the charges of each judicial sale with the Law Firm. This practice or
custom was referred to in Will County as the “Court Auctioneer” system.

32. After the Law was enacted, the practice or custom in Will County did not change
The Will County Sheriff with the participation of the Law Firm handled virtually 100% of all
judicial sales in the county.

33. Sometime after 1987, the 12th Judicial Circuit adopted a local rule that
memorialized the practice and custom of having the Court Auctioneer conduct all judicial sales
Rule 11.01, Twelfth Judicial Circuit.

34. As a result of the practice or custom in Will County, private selling officers are
effectively excluded from being appointed to conduct judicial sales.

35. Will County’s revenue from judicial sales in 2012 was $1,088,792.

36. The cost of judicial sales in Will County charged by the Will County Sheriff is
higher than the charges made by lntercounty or any other private firm engaged in the Business to

their customers throughout northern lllinois

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37. Generally, the Will County Sheriff only holds such sales once a week, while
private selling officers can hold sales more frequently if allowed to operate the Business in Will
County.

38. Sornetinie in 2011, a representative of lntercounty and a representative of one of
its competitors, ludicial Sales Corporation, met with the Will County Sheriff, the Will County
Executive, a senior member of the Law Firm, and others to discuss opening the market for
judicial sales to private competition in order to reduce the costs to law firms, lenders, and other
parties and expedite the process of such sales. The County, Sheriff, and Law Firm rejected this
request and continued to control the business of judicial sales

39. ln 20]2, the Will County Sheriff and the Law Firm conducted 3,183 sales in Will
County. lntercounty conducted none.

40. lntercounty is ready, willing and able to conduct judicial sales in Will County.

FACTS SPECIFIC TO LAKE COUNTY

4l. By the mid-2000’s, lntercounty and the other private firms in the Business
conducted over 99% of all judicial sales in Lake County.

42. ln 2008, the Lake County Sheriff conducted approximately 25 judicial sales.
lntercounty was appointed to conduct 1,161 judicial sales in that year and the other private firms
in the Business were appointed to conduct 944 judicial sales

43. The Lake County Sheriff charged an average of $600 plus additional charges for
other services per sale in 2008. lntercounty charged a flat fee of $300 for all judicial sales it
conducted in Lake County in 2008, which fee included preparation and service of sale notices
and other services not offered by the Lake County Sheriff. The other private firms in the

Business also charged substantially less than the Lake County Sheriff.
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44. ln 2009, the Lake County Board adopted Ordinance 09-1623 (“Ordinance”)
authorizing the Sheriff to establish a Judicial Sales Division in his office; to charge fees for
specified services; and to authorize the expenditure of approximately $100,000 to hire two staff
members to conduct judicial sales.

45. Upon presentation of the draft Ordinance for approval in June of 2009 at meetings
of the Law and Judicial Committee and the Financial and Administrative Committee of Lake
County, Lake County announced that the Ordinance would authorize the Sheriff to conduct “all
foreclosure sales in Lake County.” The Ordinance was passed by the Lake County Board on
lurie 9, 2009. A true and correct copy of the Ordinance is attached as Exhibit A to this
Complaint.

46. The day after the Ordinance was passed, the Lake County Sheriff announced that
he expected to conduct 5,000 judicial Sales the next year, representing all the judicial sales in
Lake County for that year.

47. The Lake County Sheriff charges $500 for each judicial sale.

48. ln 2010, Lake County budgeted over $1,000,000 in revenue from judicial sales.

49. in 2010, the Lake County Sheriff scheduled 3,807 new judicial sales

50. The number of sales conducted by lntercounty in Lake County has declined in
every year since the Ordinance was adopted.

51. ln 2012, the Lake County Sheriff scheduled 3,988 new judicial sales lntercounty
was appointed to conduct 13 judicial sales and the other private firms in the Business were
appointed to conduct 6 judicial sales.

52. From the first year after the adoption of the Ordinance, the Lake County Sheriff

has taken over most of the Business to the point where the Lake County Sheriff has gone from an

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insignificant number of judicial sales to almost 100% of all judicial sales and lntercounty and the
other private companies engaged in the Business gone from almost 100% of the Business to
virtually no Business in Lake County.

53. lntercounty is ready, willing, and able to conduct judicial sales in Lake County.

COUNT I - VIOLATION OF THE CONTRACT CLAUSE
OF THE U.S. CONSTITUTION-WILL COUNTY

54. lntercounty restates and incorporates by reference paragraphs 1 through 40 of this
Complaint as though more fully set forth herein.

55. lntercounty has a clearly ascertainable right and/or protectable interest in its near
permanent relationships with the law firms, lenders, and other parties with which it regularly
does business

56. The contractual relationship between lntercounty and such law firms, lenders, and
other parties to conduct mortgage foreclosure sales as a private selling officer under the Law
constitutes a property right protected by Article 1, §10 of the U.S. Constitution.

57. The actions of Will County, the Will County Sheriff, and the Law Firm in
operating the exclusive Court Auctioneer’s system for judicial sales violates lntercounty’s rights
under Article 1, §10 of the U.S. Constitution in that these Defendants have interfered with
lntercounty’s ability to contract to conduct judicial sales in Will County.

58. The violation of the constitutional right of contract constitutes irreparable injury.

59. lntercounty has suffered irreparable injury by not being able to conduct judicial
sales in Will County, as lntercounty has: (1) lost revenue from its existing law firms, lenders,
and other parties in not being able to contract to conduct judicial sales in Will County; (2) the

opportunity to obtain new business in Will County; and (3) lost reputation and standing in the

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legal and lender community and the interruption of long-standing relationships with its law
firms, lenders, and other parties and the expectation that these relationships would continue for
many years.

60. There is no adequate remedy at law to fully and adequately compensate
lntercounty for the damages which it will suffer if the Defendants are allowed to continue
infringe on lntercounty’s constitutionally protected contract rights

WHEREFORE, Plaintiffs move this Honorable Court for the following relief:

1. A declaratory judgment that the custom and practice in Will County violates

Intercounty’s rights under Article 1, §10 of the U.S. Constitution;

2. An order preliminarily and permanently enjoining Defendants from continuing

the Court Auctioneer system and barring the Sheriff from conducting judicial sales With

the assistance of the Law Firm.

3. An award of monetary damages in favor of lntercounty and against Will County,

the Will County Sheriff, and the Law Firm as allowed under 42 U.S.C. §1988 for the

value of the lost revenue from law firms, lenders, and other parties which would have
used lntercounty to conduct judicial sales, but for the practice and custom in Will County

to exclude lntercounty from conducting judicial sales as a private selling officer;

4. An award of costs and reasonable attorneys’ fees as authorized under 42 U.S.C.
§1988; and,
5 . Such other relief as this Court may deem just and reasonable

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COUNT II - VIOLATION OF THE CONTRACT CLAUSE
()F THE U.S. CONSTITUTION-LAKE COUNTY

61. lntercounty restates and incorporates by reference paragraphs 1 through 30 and
41-53 of this Complaint as though more fully set forth herein.

62. lntercounty has a clearly ascertainable right and/or protectable interest in its near
permanent relationships with the law firms, lenders, and other parties for which it provides the
Business

63. lntercounty has the right to contract with such law firms, lenders, and other
parties as a private selling officer under the Act and this right constitutes a property right
protected by Article 1, §10 of the U.S. Constitution.

64. The actions of Lake County and the Lake County Sheriff in operating an
exclusive system for judicial sales violates lntercounty’s rights under Article 1, §10 of the U.S.
Constitution in that these Defendants have interfered with lntercounty’s ability to contract to
perform judicial sales in Lake County.

65. The violation of the constitutional right of contract constitutes irreparable injury.

66. lntercounty has suffered irreparable injury by not being able to conduct judicial
sales in Lake County, as lntercounty has: (1) lost revenue from its existing law firms, lenders,
and other parties in not being able to contract to do judicial sales in Lake County; (2) the
opportunity to obtain new business in Lake County; and (3) reputation and standing in the legal
and lender community and the interruption of long-standing relationships with its law firms,
lenders, and other parties and the expectation that these relationships would continue for many

years.

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67. There is no adequate remedy at law to fully and adequately compensate
lntercounty for the damages which it will suffer if the Defendants are allowed to continue to
infringe on lntercounty’s constitutionally protected contract rights

WHEREFORE, Plaintiff moves this l-lonorable Court for the following relief:

1. A declaratory judgment that the custom and practice in Lake County violates

lntercounty’s rights under Article 1, §10 of the U.S. Constitution;

2. An order preliminarily and permanently enjoining Defendants from conducting a

judicial sale in any proceeding where any party to the foreclosure proceeding requests the

appointment of a private selling officer;

3. An award of monetary damages to lntercounty and against Lake County and the

Lake County Sheriff as allowed under 42 U.S.C. §1988 for the value of the lost revenue

from law firms, lenders, and other parties which would have used lntercounty to conduct

judicial sales, but for the practice and custom in Lake County to exclude lntercounty

from conducting judicial sales as a private selling officer.;

4. An award of costs and reasonable attorneys’ fees as authorized under 42 U.S.C.
§ 1988; and,
5. Such other relief as this Court may deem just and reasonable

COUNT III-VIOLATION ()F INTERCOUNTY’S RIGHTS AS PROTECTED BY THE
DUE PROCESS AND EOUAL PROTECTION CLAUSES-WILL COUNTY

68. lntercounty restates and incorporates by reference paragraphs 1 through 40 of this
Complaint as though more fully set forth herein.
69. Will County, in conjunction with the Will County Sheriff and the Law Firm, are

interfering with and taking away lntercounty’s right under the Law to conduct judicial sales at

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the request of the law firms, lenders, and other parties for which it regularly provides the services
as a private selling officer in the other counties in lllinois, all in contravention of the due process
and equal protection provisions of the Fourteenth Arnendment to the U.S. Constitution.

70. By adopting and implementing the custom and practice in Will County, Will
County and Will County Sheriff, in conjunction With the Law Firm, have engaged in arbitrary
` and capricious actions that deny private selling officers, including lntercounty, the right to due
process and equal protection of the laws. Will County, the Will County Sheriff, and Law Firm
have no authority under the Law to take over the Business from private selling officers, yet they
have taken over the Business to the exclusion of private selling officers including lntercounty.

71. The exclusion of private selling officers in Will County is treating all firms in the
Business, including lntercounty, differently than others similarly situated in violation of the
Equal Protection Clause.

72. The joint actions of Will County, the Will County Sheriff, and the Law Firm are
actions under color of law within the meaning of the Fourteenth Amendment to the U.S.
Constitution.

73. lntercounty has suffered or will continue to suffer irreparable injury if it cannot
conduct judicial sales in Will County, violating lntercounty’s constitutional rights

74. lntercounty will further suffer irreparable injury if it cannot conduct judicial sales
in Will County as lntercounty will lose: (1) revenue from its existing base of law firms, lenders,
and other parties in Will County; (2) referrals from existing law firms, lenders, and other parties
for new Business; (3) reputation and standing in the legal and lender communities and the

interruption of long-standing relationships with its law firm and lender clients and the

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expectation that these relationships would continue for many years; (4) the ability to sell the
Business to new law firms, lenders, and other parties; and (5) good will.
75. 'l`here is no adequate remedy at law to fully and adequately compensate
lntercounty for the damages which they will suffer.
WHEREFORE, Plaintiff moves this Honorable Court for the following relief:
1. A declaratory judgment that the custom and practice in Will County by the
County, Will County Sheriff, and the Law Firm violates the Law and as such violates
lntercounty’s right to due process and equal protection of the laws under the Fourteenth
Amendment_
2. An order preliminarily and permanently enjoining Will County, the Will County
Sheriff, and the Law Firm from conducting Court Auctioneer’s sales when any party to a
foreclosure proceeding chooses to have a private selling officer such an lntercounty
conduct the judicial sale;
3. An award of monetary damages to lntercounty and against Will County, the Will
County Sheriff, and the Law Firm, as allowed under 42 U.S.C. §1988, for the value of the
lost revenue resulting from being barred from the Business as the result of the custom and

practice adopted by the Defendants;

4. An award of costs and reasonable attorneys’ fees, as authorized under 42 U.S.C.
§1988; and,
5. Such other relief as this Court may deem just and reasonable

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C()UNT IV-VIOLA'I`ION OF INTERCOUNTY’S RIGHTS AS PROTECTED BY THE
DUE PROCESS AND EOUAL PROTECTION CLAUSES-LAKE COUNTY

76. lntercounty restates and incorporates by reference paragraphs 1 through 30 and
41-53 of this Complaint as though more fully set forth herein.

77. Lake County, in conjunction with the Lake County Sheriff`, is interfering with and
taking away lntercounty’s right under the Law to conduct judicial sales for the law firms,
lenders, and other parties it regularly serves in this capacity in the other counties in lllinois, all in
contravention of the due process and equal protection provisions of the Fourteenth Amendment
to the U.S. Constitution.

78. By adopting and implementing the custom and practice in Lake County, the
County and Lake County Sheriff have engaged in arbitrary and capricious actions that deny
private selling officers, including lntercounty, the right to due process and equal protection of the
laws as Lake County and the Lake County Sheriff have no authority under the Law to take over
the Business from private selling officers, yet they have taken over the Business to the exclusion
of private selling officers including lntercounty.

79. The exclusion of private selling officers in Lake County is treating all private
selling officers, including lntercounty, differently than others similarly situated in violation of
the Equal Protection Clause.

80. The joint actions of Lake County and the Lake County Sheriff are actions under
color of law within the meaning of the Fourteenth Amendment to the U.S. Constitution.

81. lntercounty will further suffer irreparable injury if it cannot conduct judicial sales
in Lake County as lntercounty will lose: (l) revenue from its existing base of law firms and

lenders for work that it could receive in Lake County; (2) referrals from existing law firms and

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lenders for new Business; (3) reputation and standing in the legal and lender communities and
the interruption of long-standing relationships with its law firm and lender clients and the
expectation that these relationships would continue for many years; (4) the ability to sell the
7 Business to new law firms, lenders, and other parties; and (5) good will.
82. There is no adequate remedy at law to fully and adequately compensate
lntercounty for the damages which it will suffer.
WHEREFORE, Plaintiff moves this Honorable Court for the following relief:
1. A declaratory judgment that the Ordinance as implemented by the Lake County
Sheriff violates the Law and as such violates lntercounty’s right to due process and equal
protection of the laws under the Fourteenth Amendment.
2. An order preliminarily and permanently enjoining Lake County Sheriff from
conducting judicial sales when any party to a foreclosure proceeding has asked for the
appointment of a private selling officer;
3. An award of monetary damages to lntercounty and against Lake County and the
Lake County Sheriff, as allowed under 42 U.S.C. §1988, for the value of the lost revenue
resulting from being virtually from the Business as the result of the custom and practice

adopted by the Defendants;

4. An award of costs and reasonable attorneys’ fees, as authorized under 42 U.S.C.
§1988; and,
5. Such other relief as this Court may deem just and reasonable

COUNT V-MONOPOLIZATION (82 OF THE SHERMAN ACT)-WILL COUNTY
83. Plaintiff incorporates by reference and restates paragraphs l through 40 of this

Complaint as though more fully set forth herein.
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The Relevant Market

84. The relevant product market is the market for the Business in Will County.
85. The relevant geographic market consists of the boundaries of Will County.
86. The relevant geographic market and relevant product market herein are referred to

as the “Relevant l\/larket.”

Iniurv to Competition and Damages to lntercounty

87. lntercounty has been injured in its business and property by reason of the fact that
Will County, in concert with the Will County Sheriff and the Law Firm, have unlawfully
precluded lntercounty and other private selling officers from competing to provide the Business
in Will County.

88. The acquisition of a monopoly in the Relevant Market has been secured by illegal
means as the Law encourages the appointment of private selling officers and the recent Supreme
Court Rule reiterates the right of any party to a mortgage foreclosure proceeding to choose
private selling officers, including lntercounty, to conduct judicial sales

89. As a result of the wrongful actions alleged herein, the cost of judicial sales has
increased for many law firms, lenders, and other parties from as low as Three Hundred Dollars
($300) per sale to as much as Six Hundred Dollars ($649.75) or more per sale as well as
transferred costs to the parties that would be absorbed by lntercounty.

90. The activities of Will County, the Will County Sheriff, and the Law Firm have
impacted the substantial and uninterrupted flow of products, services, contracts, and claims in

interstate commerce and the transfer of substantial sums of money across state lines. ln

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particular, the provision of the services of private selling officers is available to any party
regardless of where located in the United States to have such private selling officers conduct
judicial sales in any county in lllinois, but may not do so in Will County.

91. These Defendants’ actions threaten to substantially adversely impact the flow of
such interstate commerce by, among other things, substantially impacting the price, quality,
timeliness and quantity of services in the Relevant l\/larket.

92. The activities of the Defendants have proximately caused injury to lntercounty in
its business and property.

93. The actions of the Defendants threaten to cause loss and/or damages to
lntercounty by unlawfully precluding it from competing in the Relevant Market.

94. Unless restrained by this Court, such activities threaten further losses and
damages to lntercounty.

95. Will County, the Will County Sheriff, and the Law Firm have effectively
excluded private selling officers from conducting their business in the Relevant l\/larket.

96. There is no clearly articulated and affirmatively expressed State policy under the
Law to authorize Will County, the Will County Sheriff, and the Law Firm to displace
competition in the Relevant Markets, or establish a monopoly and extract monopoly profits for
themselves

97. There is a clearly articulated and affirmatively expressed State policy under the
Law that private selling officers like lntercounty are entitled to offer their services in any county,
including in Will County.

98. Although the Law encourages the use of private selling officers to expedite the

judicial sales process and reduce costs of sale, Will County, the Will County Sheriff, and the
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Law Firm have undermined these goals by establishing exclusive procedures that both often
lengthen the process of judicial sales and routinely increase the costs of judicial sales.

99. Private selling officers, including lntercounty, are authorized by the Law to
conduct judicial sales anywhere in the State of lllinois, including in Will County.

100. There is no authority under the Law for the Will County Sheriff to contract with
the Law Firm to engage in the Court Auctioneer’s system.

101. Will County, in conjunction with the Will County Sheriff and the Law Firm, is
interfering with and taking away lntercounty’s rights under the Law to provide the Business to
existing law firms, lenders, and any other parties, as well as new law firms, lenders or any other
parties who want lntercounty to conduct judicial sales in Will County.

102. The establishment of the exclusive control over the Business in Will County with
the active participation of the Law Firm constitutes exclusionary behavior. The purpose of these
actions is intended to create a monopoly.

103. The actions of Will County, the Will County Sheriff, and the Law Firm constitute
attempted monopolization of the Relevant Market, in violation of §2 of the Sherman Act (l5
U.S.C. §2).

104. The active participation of the Law Firm with the Will County Sheriff constitutes
a conspiracy to monopolize the Relevant l\/larket, in violation of §2 of the Sherman Act. (15
U.S.C. §2).

105. lntercounty has been substantially injured in its business and property by the acts
of the Defendants as lntercounty has lost all of its Business due to perpetuation of the Court

Auctioneer’s system in Will County after the 1987 amendments to the Act.

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106. lntercounty has suffered irreparable injury by being precluded from competing in
the Relevant Market for the Business

107. Will County and the Will County Sheriff are immune from antitrust damages
under the Local Government Antitrust Immunity Act, 15 U.S.C. §§34-36, and therefore
lntercounty does not have an adequate remedy at law against the Will County and the Will
County Sheriff.

WHEREFORE, the Plaintiff moves this Honorable Court for the following relief:

1. The entry of an injunction against Will County, the Will County Sheriff, and the

Law Firm prohibiting them from operating the Court Auctioneer’s system and prohibiting

the Sheriff from accepting assignments for judicial sales where any party to a foreclosure

proceeding have sought the appointment of private selling officer to conduct the judicial

sale;

2. An award of monetary damages against the Law Firm in the amount of

lntercounty’s lost profits in Will County from lntercounty’s inability to obtain the

Business due to the Law Firm’s participation in an illegal monopoly and treble that

amount as authorized under Section 4 of the Clayton Act, 15 U.S.C., § 15(a);

3. An award against Will County and the Will County Sheriff and the Law Firm for

lntercounty’s attorney’s fees and costs as allowed under the Clayton Act, 15 U.S.C. §

15(a); and,

4. Such other relief as this Court may deem just and reasonable

COUNT VI-MONOPOLIZATION §§2 OF THE SHERMAN ACT)-LAKE COUNTY
108. Plaintiff incorporates by reference and restates paragraphs 1 through 30 and 41-53

of this Complaint as though more fully set forth herein.
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The Relevant Market

109. The relevant product market is the market for the Business in Lake County.
110. The relevant geographic market consists of the boundaries of Lake County.
l l l. The relevant geographic market and relevant product market herein are referred to

as the “Relevant Market.”

Iniurv to Competition and Damages to lntercounty

112. Lake County and Lake County Sheriff, in exercising a monopoly in conducting
virtually all of the Lake County mortgage foreclosure sales, exceed the power granted to Lake
County and the Lake County Sheriff, either expressly or by necessary implication under lllinois
statute or the lllinois Constitution.

l13. Lake County and the Lake County Sheriff`s creation and exercise of a monopoly
in the conduct of mortgage foreclosure sales in Lake County is not undertaken pursuant to any
state policy and is, in fact, contrary to the express intent and purpose of the Law.

114. lntercounty has been injured in its business and property by reason of the fact that
Lake County, in concert with the Lake County Sheriff, have unlawfully precluded lntercounty
and other private selling officers from competing to provide the Business to parties requiring the
services of private selling officers in Lake County as permitted under the Law.

l 15. The acquisition of a monopoly in the.Relevant Market has been secured by illegal
means as the Law facilitates the appointment of private selling officers and the recent Supreme
Court Rule reiterates the right of parties to foreclosure proceedings to choose private selling

officers to conduct judicial sales.

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116. As a result of the wrongful actions alleged herein, the cost of judicial sales has
increased for many law firms, lenders, and other parties to foreclosure proceedings from as low
as Three Hundred Dollars ($3 00) per sale to as much as Five Hundred Dollars ($500) or more
per sale, as well as transferred costs to the parties that would be absorbed by lntercounty.

117. The activities of Lake County and the Lake County Sheriff have impacted the
substantial and uninterrupted flow of products services, contracts, and claims in interstate
commerce and the transfer of substantial sums of money across state lines ln particular, the
provision of the services of private selling officers is available to any law firm, lender, or other
party regardless of where they are located throughout the United States for judicial sales in
lllinois, but not in Lake County.

118. The monopoly created and exercised by Lake County and Lake County Sheriff in
the conduct of mortgage foreclosure sales in Lake County poses a continuing threat to free,
unrestrained and competitive interstate trade

119. These Defendants’ actions threaten to substantially adversely impact the flow of
such interstate commerce by, among other things, substantially impacting the price, quality,
timeliness and quantity of services in each Relevant l\/larket.

120. The activities of these Defendants have proximately caused injury to lntercounty
in its business and property. l

l21. The actions of these Defendants threaten to cause loss and/or damages to
lntercounty by unlawfully precluding it from competing for the Business in the Relevant Market.

122. Unless restrained by this Court, such activities threaten further losses and

damages to lntercounty.

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123. Prior to the adoption of the Ordinance by Lake County, private selling officers
actively competed for the Business in Lake County. All parties to foreclosure proceedings
greatly benefitted from this competition, as it resulted in competitive prices, superior customer
service, quality enhancements and many choices for consumers The drafting and publication of
the notice of sale was one indication of the innovation that lntercounty and other private selling
officers brought to their customers

124. By adopting the Ordinance and implementing the custom and practice of having
the Lake County Sheriff conduct virtually all judicial sales, Lake County and the Lake County
Sheriff have barred lntercounty and all other private selling officers from the Relevant l\/larket.

125. These Defendants have effectively excluded private selling officers from
conducting their business in the Relevant l\/larket.

126. There is no clearly articulated and affirmatively expressed State policy under the
Act to authorize Lake County and the Lake County Sheriff to displace competition in the
Relevant Markets, or establish a monopoly and extract monopoly profits for themselves

127. There is a clearly articulated and affirmatively expressed State policy under the
Act that private selling officers like lntercounty are entitled'to offer their services in any county,
including in Lake County.

128. Although the Law encourages the use of private selling officers to expedite the
judicial sales process and reduce costs of sale, Lake County and the Lake County Sheriff have
undermined these goals by establishing exclusive procedures that both often lengthen the process
of judicial sales and routinely increase the costs of judicial sales

129. Private selling officers, including lntercounty, are authorized by the Law to

conduct judicial sales anywhere in the State of lllinois, including in Lake County.

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130. Lake County, in conjunction with the Lake County Sheriff, is interfering with and
taking away lntercounty’s rights under the Law to provide the Business to existing law firms and
lenders as well as new law firms and lenders or other parties who want lntercounty to handle
judicial sales in Lake County.

131. The establishment of the exclusive control over the Business in Lake County
constitutes exclusionary behavior The purpose of these actions is intended to create a
monopoly.

132. The Defendants’ actions constitute attempted monopolization of the Relevant
l\/larket, in violation of §2 of the Sherman Act (15 U.S.C. §2).

133. lntercounty has been substantially injured in its business and property by the acts
of the Defendants as lntercounty has lost virtually all of its Business in Lake County due to
implementation of the Ordinance in Lake County.

134. lntercounty has suffered irreparable injury by being precluded from competing in
the Relevant l\/larket for the Business

135. Lake County and the Lake County Sheriff are immune from antitrust damages
under the Local Government Antitrust lmmunity Act, 15 U.S.C. §§34-36, and therefore
lntercounty does not have an adequate remedy at law against Lake County and the Lake County
Sheriff.

WHEREFORE, the Plaintiff moves this Honorable Court for the following relief:

1. The entry of an injunction against Lake County and the Lake County Sheriff

barring them from continuing to enforce the Ordinance

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2. An award in favor of lntercounty and against Lake County and the Lake County
Sheriff for lntercounty’s attorney’s fees and costs as allowed under the Clayton Act, 15
U.S.C. § 15(a); and,

3. Such other relief as this Court may deem just and reasonable

COUNT VII-DECLARATORY JUDGMENT UNDER 735 lLCS § 5/2-701-WILL
COUNTY

136. Plaintiffs restate and incorporate by reference paragraphs 1 through 40 of this
Complaint as though more fully set forth herein.

137. Will County is a non-horne rule unit of government deriving all its authority from
those statutory grants of the State of lllinois

138. The Law provides that in relevant part that a party may seek “special matters” in
the complaint or by separate motion that “an official or other person who shall be the officer to
conduct the sale other than one customarily designated by the court.” (735 lLCS § 5/15-
1506(f)(3)). lntercounty and other firms in the Business are such officers identified in the Law.

139. The benefits of using private selling officers led the lllinois Supreme Court to
reinforce the purpose of § 1506(f)(3) in its adoption of Sup.Ct. Rule 113(f)(2).

140. lntercounty has routinely acted as a private selling officer under subsection
1506(f)(3) in most counties throughout the State and no sales have been denied confirmation
based on any failure of lntercounty to comply with the Law.

141. l\/lany law firms, lenders and other parties who regularly seek lntercounty’s
appointment in other counties would use lntercounty as their private selling officer in Will

County, but for the custom and practice in Will County.

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142. The Act does not vest Will County, the Will County Sheriff, and the Law Firm
with the authority to adopt the custom or practice of conducting virtually all of the judicial sales
in Will County to the exclusion of private selling officers

WHEREFORE, Plaintiff moves this Honorable Court for the following relief:

1. A declaratory judgment that the actions of these Defendants are in violation of the

Law and their exclusion of all judicial sales by private selling officers is in contravention

of the Law; and

2. Such other relief as this Court may deem just and reasonable

C()UNT VIII-DECLARATORY JUDGMENT UNDER ILCS § 5/2-'701-LAKE COUNTY

143. Plaintiff restates and incorporates by reference paragraphs 1 through 30 and 41-53
of this Complaint as though more fully set forth herein.

144. Lake County is a non-home rule unit of government deriving all its authority from
those statutory grants of the State of lllinois

145. The Law provides in relevant part that any party may seek “special matters” in the
complaint or by separate motion that “an official or other person who shall be the officer to
conduct the sale other than one customarily designated by the court.’ (735 lLCS § 5/15-
1506(f)(3)). lntercounty and other firms in the Business routinely conduct judicial sales as
officers under the Law.

146. Many law firms, lenders, and other parties who regularly seek the appointment of
lntercounty would use lntercounty as their private selling officers in Lake County, but for the
adoption and implementation of the Ordinance

147. The benefits of using private selling officers led the lllinois Supreme Court to

reinforce the purpose of subsection 1506(f)(3) m its adoption of Sup. Ct. Rule 113(f`)(2).
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148. lntercounty has routinely acted as a private selling officer under § 1506(1`)(3) in
most counties throughout the State and no sales have been denied confirmation based on the
failure of lntercounty to comply with the Law.

149. Many law firms and lenders who are regular customers of lntercounty would use
lntercounty as their private selling officers, but for the adoption and implementation of the
Ordinance

l50. The Law does not vest Lake County and the Lake County Sheriff with the
authority to adopt the custom or practice of exclusively conducting judicial sales to the exclusion
of private selling officers like lntercounty.

WHEREFORE, Plaintiff moves this Honorable Court for the following relief:

1. A declaratory judgment that the actions of these Defendants are in violation of the

Law and their control over the conduct of judicial sales to the virtual exclusion of private

selling officers is in contravention of the Law', and

2. Such other relief as this Court may deem just and reasonable

Dated: December 20 , 2013

Respectfully submitted,

 

 

Bruce L. Goldsmith ARDC 0996939 INTERCOUNTY JUDICIAL SALES CORPORATION
David J. Bressler - ARDC 6l 82549
DYKEMA GOSSETT PLLC

4200 Commerce Court, Suite 300
Lisle, ll 60532 By: Bruce L. Goldsmith
630- 245-0400 One of its Attorneys

 

 

Attorneys for lntercounty

 

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VERIF[CATION

r~`\l\llj)l{ii\¢&l' D. SCI"EUS"[`EI*`}"`, i’z'csident of lN’l`ERCOUN'l`Y JUDlClAl. SALES
CORPORA’[`ION, being duly sworn on oath states that to the best of his knowledge the
information set forth in the foregoing Complaint is true and correct and that he has the authority
to make this verification on behalf of himself and l_i\l?l_`liRCUtli\"l"Y .lUDlClAl. SALES
COR.'PORA’I`ION.

 

Andrcw ll Schustct`t`, l’resident
lntercounty ludicial Salcs Corporation

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ofDececuber, 2013.

 

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